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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES                                 :
                                              :        CRIMINAL ACTION
      v.                                      :
                                              :        No. 13-176-4
                                              :        BOP No. 28206-058
WALTER ALSTON BROWN, JR.                      :



                    ORDER TO REDUCE TERM OF IMPRISONMENT

      AND NOW, this 20th day of October 2020, upon consideration of Defendant’s Motion for

Compassionate Release Under 18 U.S.C. § 3582(c), the Government’s response, and for the

reasons provided in this Court’s Memorandum dated October 20, 2020, it is ORDERED that:

      1. The motion (Document No. 382) is GRANTED.

      2. Brown’s term of imprisonment is reduced to time served. He shall be released from the

           custody of the Bureau of Prisons (“BOP”) as soon as reasonably practicable, and he

           completes a 14-day quarantine at the FCI (unless, in the BOP’s determination, this is

           not necessary because he has already been effectively quarantined, or is not practical

           given the resources of the facility; in that case, the Defendant should be ordered to self-

           quarantine for 14 days at the residence approved by the Probation Office).

      3. Upon his release from custody, Brown shall begin serving the five-year period of

           supervised release imposed by this Court at sentencing. All previously-imposed

           conditions of supervised release remain unchanged.

      4. Within twenty-four hours of release, Brown shall contact the United States Probation

           Office and shall follow its instructions.
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5. IT IS FURTHER ORDERED that the Probation Office shall notify the Court if a

   release plan cannot be implemented by the time that the Bureau of Prisons is prepared

   to release the Defendant pursuant to this Order.




                                     BY THE COURT:

                                     /s/Berle M. Schiller____________
                                     Berle M. Schiller, J.
